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                                                               THE HONORABLE JOHN C. COUGHENOUR
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                                      UNITED STATES DISTRICT COURT
 7
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE

 9       DODO INTERNATIONAL, INC., et al.,                             CASE NO. C20-1116-JCC
10                                 Plaintiffs,                         MINUTE ORDER
11                v.

12       RICHARD PARKER, et al.,

13                                 Defendants.
14

15              The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17              This matter comes before the Court on Plaintiffs’ motion for an extension of time to
18   respond to Defendant Klersun LLC’s motion to dismiss (Dkt. No. 23.) Klersun does not oppose
19   Plaintiffs’ motion, but requests that if the Court grants it, that the Court renote its motion for
20   consideration on November 22, 2020. (See Dkt. No. 32 at 2.) Under these circumstances, the
21   Court finds good cause and GRANTS Plaintiff’s motion. The Court DIRECTS the Clerk to
22   renote Defendant Klersun LLC’s motion to dismiss (Dkt. No. 13) for consideration on November
23   23, 2020. 1 Plaintiffs must file their response to Defendant’s motion no later than November 16,
24   2020. In the future, the parties are encouraged to implement agreed extensions on pending
25   motions without the Court’s involvement by making use of Local Civil Rule 7(l) or, if the
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         November 22, 2020, the date Klersun requested, is a Sunday.


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 1   Court’s involvement is necessary, by filing a stipulated motion.

 2          DATED this 5th day of November 2020.

 3                                                         William M. McCool
                                                           Clerk of Court
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                                                           s/Paula McNabb
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                                                           Deputy Clerk
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